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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Texas
                                          (State)                                                                                ☐ Check if this is an
Case number (if known):                                     Chapter       11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                  06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                             Phoenix Business Systems, LLC


                                               N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                 XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                  Mailing address, if different from principal place
                                                                                                    of business
                                       1A Burton Hills Boulevard
                                       Number             Street                                    Number         Street


                                                                                                    P.O. Box
                                       Nashville                         TN         37215
                                       City                             State      Zip Code         City                         State     Zip Code

                                                                                                    Location of principal assets, if different from
                                                                                                    principal place of business
                                       Davidson
                                       County                                                       Number         Street




                                                                                                    City                         State     Zip Code




5. Debtor’s website (URL)              https://www.envisionhealth.com/

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                     Case 23-90405 Document 1 Filed in TXSB on 05/15/23 Page 2 of 38
Debtor            Phoenix Business Systems, LLC                                  Case number (if known)
           Name



                                         A. Check One:
7.   Describe debtor’s business
                                         ☒ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                         ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                         ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                         ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                         ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                         ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         ☐ None of the above

                                         B. Check all that apply:
                                         ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                         ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                         ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                         6211 - Offices of Physicians
8. Under which chapter of the            Check One:
   Bankruptcy Code is the
   debtor filing?                        ☐ Chapter 7

                                         ☐ Chapter 9

      A debtor who is a “small           ☒ Chapter 11. Check all that apply:
      business debtor” must
                                                           ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      check the first sub- box. A                            aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
      debtor as defined in §                                 are less than $3,024,725. If this sub-box is selected, attach the most recent balance
      1182(1) who elects to                                  sheet, statement of operations, cash-flow statement, and federal income tax return or
      proceed under subchapter                               if any of these documents do not exist, follow the procedure in 11 U.S.C. §
      V of chapter 11 (whether                               1116(1)(B).
      or not the debtor is a
                                                           ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
      “small business debtor”)
                                                             liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
      must check the second                                  and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
      sub-box.                                               selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                             statement, and federal income tax return or if any of these documents do not exist,
                                                             follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                           ☐ A plan is being filed with this petition.

                                                           ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).
                                                           ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                             Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                           ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                         ☐ Chapter 12

9. Were prior bankruptcy cases        ☒ No
   filed by or against the debtor     ☐ Yes.    District                          When                          Case number
   within the last 8 years?                                                                 MM/DD/YYYY
     If more than 2 cases, attach a             District                          When                          Case number
     separate list.                                                                         MM/DD/YYYY




     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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Debtor           Phoenix Business Systems, LLC                                        Case number (if known)
          Name



10. Are any bankruptcy cases           ☐ No          Debtor
    pending or being filed by a        ☒ Yes.                     See Rider 1                                       Relationship     Affiliate
    business partner or an
    affiliate of the debtor?                         District     Southern District of Texas
   List all cases. If more than 1,                                                                                  When             05/14/2023
   attach a separate list.                                                                                                           MM / DD / YYYY
                                                   Case number, if known _______________________

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☐   Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☒   A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal
    property that needs                          Why does the property need immediate attention? (Check all that apply.)
    immediate attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                 ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                        options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                       Number         Street



                                                                                       City                                State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.         Insurance agency

                                                                Contact name
                                                                Phone




                       Statistical and administrative information

13. Debtor's estimation of           Check one:
    available funds
                                     ☒ Funds will be available for distribution to unsecured creditors.
                                     ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of              ☐      1-49                         ☐      1,000-5,000                     ☐    25,001-50,000
    creditors (on a                  ☐      50-99                        ☐      5,001-10,000                    ☐    50,001-100,000
    consolidated basis)              ☐      100-199                      ☒      10,001-25,000                   ☐    More than 100,000
                                     ☐      200-999




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                    Case 23-90405 Document 1 Filed in TXSB on 05/15/23 Page 4 of 38
Debtor           Phoenix Business Systems, LLC                                     Case number (if known)
          Name



15. Estimated assets (on a          ☐     $0-$50,000                 ☐     $1,000,001-$10 million                  ☐   $500,000,001-$1 billion
    consolidated basis)             ☐     $50,001-$100,000           ☐     $10,000,001-$50 million                 ☒   $1,000,000,001-$10 billion
                                    ☐     $100,001-$500,000          ☐     $50,000,001-$100 million                ☐   $10,000,000,001-$50 billion
                                    ☐     $500,001-$1 million        ☐     $100,000,001-$500 million               ☐   More than $50 billion



16. Estimated liabilities (on       ☐     $0-$50,000                  ☐    $1,000,001-$10 million                  ☐   $500,000,001-$1 billion
    a consolidated basis)           ☐     $50,001-$100,000            ☐    $10,000,001-$50 million                 ☒   $1,000,000,001-$10 billion
                                    ☐     $100,001-$500,000           ☐    $50,000,001-$100 million                ☐   $10,000,000,001-$50 billion
                                    ☐     $500,001-$1 million         ☐    $100,000,001-$500 million               ☐   More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of      The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of      petition.
    debtor
                                      I have been authorized to file this petition on behalf of the debtor.
                                      I have examined the information in this petition and have a reasonable belief that the information is true and
                                      correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                      Executed on         05/14/2023
                                                           MM/ DD / YYYY


                                           /s/ Paul Keglevic                                                 Paul Keglevic
                                           Signature of authorized representative of debtor               Printed name

                                           Title    Chief Restructuring Officer




18. Signature of attorney                  /s/ Rebecca Blake Chaikin                                       Date        05/14/2023
                                           Signature of attorney for debtor                                            MM/DD/YYYY



                                           Rebecca Blake Chaikin

                                           Jackson Walker LLP
                                           Firm name
                                           1401 McKinney Street, Suite 1900
                                           Number                 Street
                                           Houston                                                                 Texas             77010
                                           City                                                                    State               ZIP Code
                                           713-752-4200                                                            rchaikin@jw.com
                                           Contact phone                                                               Email address
                                           24133055                                           Texas
                                           Bar number                                          State




   Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                           Southern District of Texas
                                       (State)                                                             ☐ Check if this is an
 Case number (if known):                                Chapter   11                                           amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these cases under the case
number assigned to the chapter 11 case of Envision Healthcare Corporation.
Envision Healthcare Corporation                                        AmSurg Lancaster PA, LLC
Acute Management, LLC                                                  AmSurg Main Line PA, LLC
Affilion, Inc.                                                         AmSurg Maryville, Inc.
All Women's Healthcare Holdings, Inc.                                  AmSurg Melbourne, Inc.
All Women's Healthcare of Dade, Inc.                                   AmSurg Miami, Inc.
All Women's Healthcare of Sawgrass, Inc.                               AmSurg Naples, Inc.
All Women's Healthcare of West Broward, Inc.                           AmSurg New Port Richey FL, Inc.
All Women's Healthcare Services, Inc.                                  AmSurg Northwest Florida, Inc.
All Women's Healthcare, Inc.                                           AmSurg Oakland CA, Inc.
AllegiantMD, Inc.                                                      AmSurg Ocala, Inc.
Alpha Physician Resources, L.L.C.                                      AmSurg Palmetto, Inc.
American Emergency Physicians Management, Inc.                         AmSurg Physicians Arizona, LLC
AmSurg Abilene Eye, Inc.                                               AmSurg Physicians HoldCo, LLC
AmSurg Abilene, Inc.                                                   AmSurg Pottsville PA, LLC
AmSurg Altamonte Springs FL, Inc.                                      AmSurg San Antonio TX, Inc.
AmSurg Anesthesia Management Services, LLC                             AmSurg San Luis Obispo CA, Inc.
AmSurg Arcadia CA, Inc.                                                AmSurg Scranton PA, Inc.
AmSurg Burbank, Inc.                                                   AmSurg Suncoast, Inc.
AmSurg Colton CA, Inc.                                                 AmSurg Temecula CA, Inc.
AmSurg Crystal River, Inc.                                             AmSurg Temecula II, Inc.
AmSurg EC Beaumont, Inc.                                               AmSurg Torrance, Inc.
AmSurg EC Centennial, Inc.                                             AmSurg, LLC
AmSurg EC Santa Fe, Inc.                                               Anesthesiologists of Greater Orlando, Inc.
AmSurg EC St. Thomas, Inc.                                             Anesthesiology Associates of Tallahassee, Inc.
AmSurg EC Topeka, Inc.                                                 Apex Acquisition LLC
AmSurg EC Washington, Inc.                                             APH Laboratory Services, Inc.
AmSurg El Paso, Inc.                                                   Arizona Perinatal Care Centers, LLC
AmSurg Escondido CA, Inc.                                              ASDH I, LLC
AmSurg Finance, Inc.                                                   ASDH II, LLC
AmSurg Fresno Endoscopy, Inc.                                          Austin NSC, LLC
AmSurg Glendale, Inc.                                                  Austin NSC, LP
AmSurg Glendora CA, Inc.                                               Bay Area Anesthesia, L.L.C.
AmSurg Hillmont, Inc.                                                  BestPractices, Inc.
AmSurg Holdco, LLC                                                     Bethesda Anesthesia Associates, Inc.
AmSurg Holdings, LLC                                                   Boca Anesthesia Service, Inc.
AmSurg Inglewood, Inc.                                                 Bravo Reimbursement Specialist, L.L.C.
AmSurg KEC, Inc.                                                       Broad Midwest Anesthesia, LLC
AmSurg Kissimmee FL, Inc.                                              Centennial Emergency Physicians, LLC
AmSurg La Jolla, Inc.                                                  Chandler Emergency Medical Group, L.L.C.
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Children's Anesthesia Associates, Inc.               Long Beach NSC, LLC
Clinical Partners Management Company, LLC            MedAssociates, LLC
CMORx, LLC                                           Medi-Bill of North Florida, Inc.
Coastal Anesthesiology Consultants, LLC              Medical Information Management Solutions, LLC
Coral Springs NSC, LLC                               Millennium Vision Surgical, LLC
Davis NSC, LLC                                       MSO Newco, LLC
Desert Mountain Consultants in Anesthesia, Inc.      NAC Properties, LLC
Discovery Clinical Research, Inc.                    New Generations Babee Bag, Inc.
Doctors Billing Service, Inc.                        North Florida Anesthesia Consultants, Inc.
Drs. Ellis, Rojas, Ross & Debs, Inc.                 North Florida Perinatal Associates, Inc.
ED Solutions, LLC                                    Northwood Anesthesia Associates, L.L.C.
EDIMS, L.L.C.                                        NSC Healthcare, Inc.
EHR Management Co.                                   NSC RBO East, LLC
EmCare Anesthesia Providers, Inc.                    NSC West Palm, LLC
EmCare HoldCo, LLC                                   Parity Healthcare, Inc.
EmCare Holdings, LLC                                 Partners in Medical Billing, Inc.
EmCare of California, Inc.                           Phoenix Business Systems, LLC
EmCare Physician Providers, Inc.                     Phoenix Physicians, LLC
EmCare Physician Services, Inc.                      Physician Account Management, Inc.
EmCare, LLC                                          Physician Office Partners, Inc.
Emergency Medical Services LLC                       Pinnacle Consultants Mid-Atlantic, L.L.C.
Emergency Medicine Education Systems, Inc.           Practice Account Management Services, LLC
EMS Management LLC                                   Proven Healthcare Solutions of New Jersey, LLC
EMSC ServicesCo, LLC                                 Provider Account Management, Inc.
Enterprise Intermediate Holdings Inc.                QRx Medical Management, LLC
Enterprise Parent Holdings, Inc.                     Radiology Staffing Solutions, Inc.
Envision Anesthesia Services of Delaware, Inc.       Radstaffing Management Solutions, Inc.
Envision Anesthesia Services of Sierra Vista, Inc.   Reimbursement Technologies, Inc.
Envision Children's Healthcare Services of North     Rose Radiology, LLC
Mississippi, Inc.                                    San Antonio NSC, LLC
Envision Healthcare Clinical Research, Inc.          Sentinel Healthcare Services, LLC
Envision Healthcare Scientific Intelligence, Inc.    Sheridan Anesthesia Services of Alabama, Inc.
Envision Physician Services, LLC                     Sheridan Anesthesia Services of Louisiana, Inc.
Evolution Mobile Imaging, LLC                        Sheridan Anesthesia Services of Virginia, Inc.
Flamingo Anesthesia Associates, Inc.                 Sheridan CADR Solutions, Inc.
FM Healthcare Services, Inc.                         Sheridan Children's Healthcare Services of Arizona, Inc.
FMO Healthcare Holdings, LLC                         Sheridan Children's Healthcare Services of Kentucky, Inc.
FO Investments II, Inc.                              Sheridan Children's Healthcare Services of Louisiana, Inc.
FO Investments III, Inc.                             Sheridan Children's Healthcare Services of New Mexico,
FO Investments, Inc.                                 Inc.
Fullerton NSC, LLC                                   Sheridan Children's Healthcare Services of Ohio, Inc.
Global Surgical Partners, Inc.                       Sheridan Children's Healthcare Services of Virginia, Inc.
Greater Florida Anesthesiologists, LLC               Sheridan Children's Healthcare Services, Inc.
Gynecologic Oncology Associates, Inc.                Sheridan Children's Services of Alabama, Inc.
Hawkeye Holdco LLC                                   Sheridan Emergency Physician Services of Missouri, Inc.
Healthcare Administrative Services, Inc.             Sheridan Emergency Physician Services of North
Holiday Acquisition Company, Inc.                    Missouri, Inc.
Illinois NSC, Inc.                                   Sheridan Emergency Physician Services of South Florida,
Imaging Advantage LLC                                Inc.
Infinity Healthcare, Inc.                            Sheridan Emergency Physician Services, Inc.
iSelect Healthcare LLC                               Sheridan Healthcare of Louisiana, Inc.
Jacksonville Beaches Anesthesia Associates, Inc.     Sheridan Healthcare of Missouri, Inc.
Jupiter Anesthesia Associates, L.L.C.                Sheridan Healthcare of Vermont, Inc.
Jupiter Healthcare, LLC                              Sheridan Healthcare of Virginia, Inc.
Kenwood NSC, LLC                                     Sheridan Healthcare of West Virginia, Inc.
KMAC, Inc.



    Rider 1                                                                                              page 2
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Sheridan Healthcare, LLC                         St. Lucie Anesthesia Associates, LLC
Sheridan Healthcorp of California, Inc.          Streamlined Medical Solutions LLC
Sheridan Healthcorp, Inc.                        Sun Devil Acquisition LLC
Sheridan Healthy Hearing Services, Inc.          Sunbeam Asset LLC
Sheridan Holdings, Inc.                          Tampa Bay NSC, LLC
Sheridan Hospitalist Services of Florida, Inc.   Templeton Readings, LLC
Sheridan InvestCo, LLC                           Tennessee Valley Neonatology, Inc.
Sheridan Leadership Academy, Inc.                Tiva Healthcare, Inc.
Sheridan Radiology Management Services, Inc.     Torrance NSC, LLC
Sheridan Radiology Services, Inc.                Towson NSC, LLC
Sheridan ROP Services of Alabama, Inc.           Twin Falls NSC, LLC
Sheridan ROP Services of Florida, Inc.           Valley Anesthesiology Consultants, Inc.
Sheridan ROP Services of Virginia, Inc.          Valley Clinical Research, Inc.
SHI II, LLC                                      West Fairview Emergency Physicians, LLC
Southeast Perinatal Associates, Inc.             Weston NSC, LLC
Spotlight Holdco LLC                             Wilton NSC, LLC




    Rider 1                                                                                page 3
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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION


                                                       )
    In re:                                             )      Chapter 11
                                                       )
    PHOENIX BUSINESS SYSTEMS, LLC,                     )      Case No. 23-[_____] (___)
                                                       )
                                    Debtor.            )
                                                       )

                                  LIST OF EQUITY SECURITY HOLDERS1

             Debtor               Equity Holders             Address of Equity Holder      Percentage of
                                                                                            Equity Held
    Phoenix Business                                       1A Burton Hills Boulevard
                              EmCare, LLC                                                      100%
    Systems, LLC                                           Nashville, Tennessee 37215




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 PHOENIX BUSINESS SYSTEMS, LLC,                       )    Case No. 23-[_____] (___)
                                                      )
                                  Debtor.             )
                                                      )

                                 CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

     EmCare, LLC                                                                 100%
                                              Case 23-90405 Document 1 Filed in TXSB on 05/15/23 Case
Debtor __Envision Healthcare Corporation, et al.________________________
                                                                                                 Page      10 of 38
                                                                                                      number (if known)_____________________________________




       Fill in this information to identify the case:
       Debtor name: Envision Healthcare Corporation, et al.
       United States Bankruptcy Court for the: Southern District of Texas
       Case number (If known): ______________                                                                                                                  Check if this is an amended
                                                                                                                                                                filing
       Official Form 204
       Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are
       Not Insiders                                                                           12/15
       A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity
       who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
       among the holders of the 30 largest unsecured claims.




            Name of creditor and complete mailing                   Name, telephone number, and email Nature of the claim (for Indicate if claim is               Amount of unsecured claim
                 address, including zip code                           address of creditor contact     example, trade debts,      contingent,                     if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                            bank loans,         unliquidated, or                  If claim is partially secured, fill in total claim amount and
                                                                                                       professional services,       disputed                      deduction for value of collateral or setoff to calculate unsecured
                                                                                                         and government                                           claim.
                                                                                                             contracts)
                                                                                                                                                                                            Deduction for
                                                                                                                                                                     Total claim, if      value of collateral
                                                                                                                                                                    partially secured         or setoff             Unsecured claim
     Wilmington Trust National Association
     246 Goose Lane
                                                                  Envision Healthcare Administrator            8.750% Senior Notes Due
   1 Suite 1205                                                                                                                                                                                                 $          979,975,831
                                                                  FAX ‐ 203‐453‐1183                           2026
     Guilford, CT 06437
     United States
     Shyanne Trammel and Tel Trammel, Individually and as
     Parents and Next Friends of Tripp Trammel                    Jack E. McGehee
     10370 Richmond Ave                                           Plaintiff's Counsel
   2                                                                                                           Litigation                                                                                       $             4,000,000
     Suite 1300                                                   EMAIL ‐ jmcgehee@lawtx.com
     Houston, TX 77042                                            PHONE ‐ 713‐864‐4000
     United States
                                                                  Marc Benioff
       Salesforce Com Inc.
                                                                  Chair & Chief Executive Officer
       Salesforce Tower 415 Mission Street, 3rd Floor
   3                                                              EMAIL ‐ marc_benioff@salesforce.com          Trade Payable                                                                                    $             1,854,910
       San Francisco, CA 94105
                                                                  PHONE ‐ 800‐720‐0371
       United States
                                                                  FAX ‐ 415‐901‐7040
     Kforce Inc.                                                  Kye Mitchell
     1150 Assembly Drive, Suite 500                               Chief Operating Officer
   4                                                                                                           Trade Payable                                                                                    $             1,194,978
     Tampa, FL 33607                                              EMAIL ‐ kmitchell@kforce.com
     United States                                                PHONE ‐ 877‐453‐6723
     Zotec Partners LLC                                           T. Scott Law
     1 Zotec Way                                                  Founder & Chief Executive Officer
   5                                                                                                           Trade Payable                                                                                    $             1,177,072
     Carmel, IN 46032                                             EMAIL ‐ slaw@zotecpartners.com
     United States                                                PHONE ‐ 317‐705‐5050
     Accolite Digital LLC
                                                                  Leela Kaza
     16479 Dallas Parkway
                                                                  Founder & Chief Executive Officer
   6 Suite 350                                                                                                 Trade Payable                                                                                    $              755,846
                                                                  PHONE ‐ 972‐586‐7778
     Addision, TX 75001
                                                                  FAX ‐ 972‐200‐7063
     United States
     Presidio Networked Solutions
                                                                  Bob Cagnazzi
     PENN 1
                                                                  Chief Executive Officer
   7 1 Pennsylvania Plaza Suite 2501                                                                           Trade Payable                                                                                    $              718,193
                                                                  EMAIL ‐ bcagnazzi@presidio.com
     New York, NY 10119
                                                                  PHONE ‐ 631‐220‐4395
     United States
                                                                  Shyamal Choudhury
       Data Core Systems Inc.
                                                                  Chief Executive Officer
       111 Sinclair Rd.
   8                                                              EMAIL ‐ dcs@datacoresystems.com              Trade Payable                                                                                    $              581,527
       Bristol, PA 19007
                                                                  PHONE ‐ 215‐243‐4838
       United States
                                                                  FAX ‐ 215‐243‐1978
     Aidoc Inc.                                                   Elad Walach
     142 W. 57th St.                                              Chief Executive Officer
   9                                                                                                           Trade Payable                                                                                    $              507,000
     New York, NY 10019                                           EMAIL ‐ elad@aidoc.com
     United States                                                PHONE ‐ 212‐203‐0095
     Softtek Integration Systems Inc.                             Blanca Trevino
     15303 Dallas Parkway Suite 200                               President & Chief Executive Officer
  10                                                                                                           Trade Payable                                                                                    $              463,058
     Addison, TX 75001                                            EMAIL ‐ btrevino@softtek.com
     United States                                                PHONE ‐ 469‐283‐2506
     Velocity Managed Services Inc.                               Mark Walker
     6936 Spring Valley Drive                                     President and Chief Operations Officer
  11                                                                                                           Trade Payable                                                                                    $              392,745
     Holland, OH 43528                                            EMAIL ‐ mwalker@velocity.org
     United States                                                PHONE ‐ 856‐667‐7817
     Jiyo Inc.                                                    Poonacha Machaiah
     2821 S Parker Road Suite 111                                 Founder
  12                                                                                                           Trade Payable                                                                                    $              331,260
     Aurora, CO 80014                                             EMAIL ‐ poonacha@seva.love
     United States                                                PHONE ‐ 650‐963‐0964
                                                                  Rodman Ward III
     CSC Corporation Service Co
                                                                  President & Chief Executive Officer
     251 Little Falls Drive
  13                                                              EMAIL ‐ rward@cscinfo.com                    Trade Payable                                                                                    $              312,860
     Wilmington, DE 19808
                                                                  PHONE ‐ 302‐764‐7100
     United States
                                                                  FAX ‐ 302‐636‐5454




Official Form 204                                                            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                             page 1
                                           Case 23-90405 Document 1 Filed in TXSB on 05/15/23 Case
Debtor __Envision Healthcare Corporation, et al.________________________
                                                                                              Page      11 of 38
                                                                                                   number (if known)_____________________________________




           Name of creditor and complete mailing                  Name, telephone number, and email Nature of the claim (for Indicate if claim is                  Amount of unsecured claim
                address, including zip code                          address of creditor contact     example, trade debts,      contingent,                        if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                          bank loans,         unliquidated, or                     If claim is partially secured, fill in total claim amount and
                                                                                                     professional services,       disputed                         deduction for value of collateral or setoff to calculate unsecured
                                                                                                       and government                                              claim.
                                                                                                           contracts)
                                                                                                                                                                                             Deduction for
                                                                                                                                                                     Total claim, if       value of collateral
                                                                                                                                                                    partially secured          or setoff             Unsecured claim
                                                                William C. Henning
     Baptist Memorial Hospital ‐ North Mississippi
                                                                Chief Executive Officer
     1100 Belk Boulevard
  14                                                            EMAIL ‐ bill.henning@bmchcc.org                Credit Balance Payable                                                                            $              257,903
     Oxford, MS 38655
                                                                PHONE ‐ 662‐636‐1061
     United States
                                                                FAX ‐ 662‐636‐1676
       WNS North America Inc.                                   Jason Wolfson
       15 Exchange Pl suite 310                                 Chief Executive Officer
  15                                                                                                           Trade Payable                                                                                     $              236,412
       Jersey City, NJ 07302                                    EMAIL ‐ wolfsonj@aimspecialtyhealth.com
       United States                                            PHONE ‐ 847‐267‐7153
     VVC Holding LLC
                                                                Robert E. Segert
     311 Arsenal Street
                                                                Chief Executive Officer
  16 Suite 600                                                                                                 Trade Payable                                                                                     $              220,888
                                                                EMAIL ‐ bsegert@athenahealth.com
     Watertown, MA 02472
                                                                PHONE ‐ 978‐952‐0317
     United States
     IT Convergence                                             Arvind Sharma
     320 Decker Dr Ste 100                                      Chief Executive Officer
  17                                                                                                           Trade Payable                                                                                     $              219,298
     Irvington, TX 75062                                        EMAIL ‐ asharma@itconvergence.com
     United States                                              PHONE ‐ 415‐675‐7935
     Trilliant Health Inc.                                      Hal Andrews
     2 Maryland Farms, Ste 200                                  President & Chief Executive Officer
  18                                                                                                           Trade Payable                                                                                     $              198,465
     Brentwood, TN 37027                                        EMAIL ‐ hal.andrews@trillianthealth.com
     United States                                              PHONE ‐ 615‐665‐4288
     Trinisys, LLC                                              William Bartholomew
     750 Old Hickory Blvd Bldg 1 Ste 268                        Chief Executive Officer
  19                                                                                                           Trade Payable                                                                                     $              189,631
     Brentwood, TN 37027                                        EMAIL ‐ wbartholomew@trinisys.com
     United States                                              PHONE ‐ 615‐497‐0708
     Individual name on file
  20 Address on file                                            Contact information on file                    Severance                                                                                         $              171,910

                                                                Katie Peterson
     Michigan Professional Insurance Exchange                   Executive Vice President and Chief Financial
     333 Bridge St NW                                           Officer
  21                                                                                                           Trade Payable                                                                                     $              159,878
     Grand Rapids, MI 49504                                     EMAIL ‐ kpeterson@mpie.org
     United States                                              PHONE ‐ 616‐391‐7988
                                                                FAX ‐ 616‐741‐1999
                                                                Barry Hytinen
     Iron Mountain Inc.
                                                                Chief Financial Officer and Executive Vice
     1 Federal Street
  22                                                            President                                      Trade Payable                                                                                     $              153,784
     Boston, MA 02110
                                                                EMAIL ‐ barry.hytinen@ironmountain.com
     United States
                                                                PHONE ‐ 859‐227‐0585
       Epromos Promotional Products LLC                         Jason Robbins
       113 5Th Avenue S.                                        Founder & Chief Executive Officer
  23                                                                                                           Trade Payable                                                                                     $              152,277
       St Cloud, MN 56301                                       EMAIL ‐ jason.robbins@epromos.com
       United States                                            PHONE ‐ 877‐377‐6667
       Oracle America Inc.                                      Safra A. Catz
       2300 Oracle Way                                          Chief Executive Officer
  24                                                                                                           Trade Payable                                                                                     $              152,209
       Austin , TX 78741                                        EMAIL ‐ safra.catz@oracle.com
       United States                                            PHONE ‐ 415‐307‐3469
       Staff Care Inc.                                          Cary Grace
       8840 Cypress Waters Blvd                                 President & Chief Executive Officer
  25                                                                                                           Trade Payable                                                                                     $              143,012
       Dallas , TX 75019                                        EMAIL ‐ cary.grace@amnhealthcare.com
       United States                                            PHONE ‐ 416‐868‐5500
       Icon Medical Network LLC                                 Janet Elkin
       8100 Sw Nyberg Street Suite 400                          President & Chief Executive Officer
  26                                                                                                           Trade Payable                                                                                     $              138,633
       Tualatin, OR 97062                                       EMAIL ‐ amy@iconmn.com
       United States                                            PHONE ‐ 888‐777‐5973
       Individual name on file
  27   Address on file                                          Contact information on file                    Severance                                                                                         $              134,632

       Staples Inc.                                             John A. Lederer
       500 Staples Drive                                        Chief Executive Officer
  28                                                                                                           Trade Payable                                                                                     $              121,832
       Framingham, MA 01702                                     EMAIL ‐ john.lederer@staples.com
       United States                                            PHONE ‐ 508–253–5000
     Harris, Gordon J PhD and Massachusetts General
                                                                Dale C. Kerester, Esq.
     Physicians Organization, Inc.
                                                                Plaintiff's Counsel
     C/O Landay Leblang Stern LLP                                                                                                       Contingent,
  29                                                            EMAIL ‐ dale@llslex.com                        Litigation                                                                                        Undetermined
     156 State Street, 5th Floor                                                                                                        Unliquidated, Disputed
                                                                PHONE ‐ 617‐742‐1500 x104
     Boston, MA 02109
                                                                FAX ‐ 617‐507‐8400

     Rave, Timothy
     156 State Street, 5th Floor Boston, MA 02109               Robert J. Welcenbach
     933 North Mayfair Road                                     Plaintiff's Counsel
  30                                                                                                           Litigation               Contingent, Unliquidated                                                 Undetermined
     Suite 311                                                  EMAIL ‐ robert@welcenbachlaw.com
     Milwaukee, WI 53226                                        PHONE ‐ 414‐441‐6766
     United States


       Top 30 unsecured creditors list excludes individuals in the Company’s deferred compensation program.




Official Form 204                                                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                page 2
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    Fill in this information to identify the case and this filing:

   Debtor Name          Phoenix Business Systems, LLC

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Paul Keglevic
                                       05/14/2023
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Paul Keglevic
                                                                                 Printed name
                                                                                 Chief Restructuring Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                       OMNIBUS WRITTEN CONSENT
                 OF THE BOARD OF DIRECTORS, MANAGERS,
           OR OTHER SIMILAR GOVERNING BODY, AS APPLICABLE,
            OF ENTERPRISE PARENT HOLDINGS INC. AND EACH OF
        THE COMPANIES SET FORTH ON EXHIBIT A ATTACHED HERETO

                                         MAY 14, 2023

        We, the undersigned, are the requisite members of the board of directors, managers, or
similar governing body (each, an “Authorizing Body,” and, collectively, the “Authorizing
Bodies”) of Enterprise Parent Holdings Inc. and certain of the Enterprise Parent Holdings Inc.
subsidiaries set forth on Exhibit A attached hereto (together with Enterprise Parent Holdings Inc.,
each a “Company,” and, collectively, the “Companies”), and each organized and existing under
the internal laws of the state of incorporation or formation, as applicable, as set forth in each
Company’s charter of incorporation or applicable organizational documents. Each Authorizing
Body, in such capacity on behalf of the applicable Company, hereby takes the following actions
and adopts the following resolutions by unanimous written consent pursuant to each Company’s
bylaws, limited liability company agreement, or such similar operating document and the
applicable laws of the state of incorporation or formation of each Company, as applicable.

       WHEREAS, the Authorizing Bodies, have reviewed and considered (i) the filing of
voluntary petitions for relief for the Companies under the provisions of chapter 11 of title 11 of
the United States Code, 11 U.S.C. § 101 et seq. (as amended, the “Bankruptcy Code”) pursuant
to applicable law and in accordance with the requirements of each Company’s governing
documents and applicable law (the “Restructuring Matters”); and (ii) authorizing entry into and
performance under the Restructuring Support Agreements and all exhibits and attachments thereto
(the “RSAs”), as defined herein;

        WHEREAS, the Authorizing Bodies have reviewed and considered the materials
presented by the management of the Companies, the CRO (as defined herein), and the Companies’
financial and legal advisors, and have had adequate opportunity to consult such persons regarding
the materials presented, obtain additional information, and to fully consider each of the strategic
alternatives available to the Companies;

       WHEREAS, the Authorizing Bodies have reviewed and considered presentations by the
Companies’ financial and legal advisors regarding the transactions contemplated under the RSAs,
each dated as of the date set forth above, and any chapter 11 plans of reorganization contemplated
by the RSAs (the “Plans”) as well as disclosure statements with all related exhibits thereto (as
amended or restated from time to time, the “Disclosure Statements”), the advantages and
disadvantages to the Companies for implementing the restructuring transactions contemplated
under the Plans pursuant to a chapter 11 process, feedback from the Companies’ stakeholders and
counterparties to the RSAs regarding implementation of the transactions contemplated thereunder,
and the present facts and circumstances in relation to the transactions contemplated under the
RSAs;
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        WHEREAS, the Authorizing Bodies have determined, in their business judgement, that
the following resolutions are advisable and in the best interest of the Companies, their creditors,
other stakeholders, and other parties in interest;

        NOW, THEREFORE, IT IS HEREBY RESOLVED, that, pursuant to the applicable
governing documents of each Company, the undersigned do hereby adopt the following
resolutions:

                               Appointment of Chief Restructuring Officer

       RESOLVED, that the Authorizing Bodies hereby create the office of the Chief
Restructuring Officer (the “CRO”) for each Company;

       RESOLVED, that Mr. Paul Keglevic be, and hereby is, appointed as the CRO for the
purpose of performing the duties and responsibilities of a CRO and such other duties and
responsibilities as may be determined by the Authorizing Bodies to be reasonably related thereto;

       FURTHER RESOLVED, that Mr. Keglevic shall be authorized from time to time to make
decisions with respect to certain aspects of the management and operation of each Company’s
business as it specifically relates to the Companies’ restructuring initiatives (the “Restructuring
Decisions”), subject to the direction of the Authorizing Bodies;

        FURTHER RESOLVED, that all Restructuring Decisions of Mr. Keglevic shall be
discussed with the member or members of the Company’s management that Mr. Keglevic
determines to be appropriate prior to the implementation of such decisions, and any dispute
between such management and Mr. Keglevic regarding the implementation of such decisions shall
be resolved by the Authorizing Bodies; and

        FURTHER RESOLVED, that the Companies will: (a) indemnify the CRO, to the fullest
extent permitted by law, and to the same extent as the most favorable indemnification it extends
to each Company’s officers or directors and (b) the CRO shall be covered as an officer under any
and all of the Companies’ existing director and officer liability insurance policies.

                                         Chapter 11 Filing

        RESOLVED, in the business judgment of the Authorizing Bodies, it is desirable and in
the best interests of the Companies, the creditors, other stakeholders, and other parties in interest,
that each Company files or causes to be filed voluntary petitions for relief (the “Bankruptcy
Petitions”) under the provisions of chapter 11 of the Bankruptcy Code in the United States
Bankruptcy Court for the Southern District of Texas, and any other petition for relief or recognition
or other order that may be desirable under applicable law in the United States, and, in accordance
with the requirements in each Company’s governing documents and applicable law, hereby
consents to, authorizes and approves, the filing of the Bankruptcy Petitions;

        FURTHER RESOLVED, any director or other duly appointed officer of the Companies
(collectively, the “Authorized Persons”), which shall include the CRO, the Chief Executive
Officer, Chief Financial Officer, or General Counsel, and any successor thereto or any person
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holding any similar position, shall be, and each of them individually hereby is, authorized and
directed for and on behalf of each Company to take all actions (including, without limitation, to
negotiate and execute any documents, certificates, supplemental agreements, and instruments) to
act as signatory and attorney on behalf of each Company in respect of the Restructuring Matters
and/or any persons to whom such Authorized Persons and/or officers delegate certain
responsibilities, be, and hereby are, authorized to execute and file on behalf of each Company all
petitions, schedules, lists, and other motions, papers, or documents, and to take any and all action
that they deem necessary or proper to obtain such relief, including, but not limited to, any action
necessary or proper to maintain the ordinary course operations of each Company’s or any of its
subsidiary’s businesses;

         FURTHER RESOLVED that each Authorized Person be, and hereby is, authorized,
empowered, and directed, together with the financial and legal advisors to the Companies, to take
all actions or to not take any action in the name of Enterprise Parent Holdings Inc. and its direct
and indirect subsidiaries with respect to the transactions contemplated by the RSA and these
resolutions, as such Authorized Persons shall deem necessary or desirable in such Authorized
Persons’ reasonable business judgment;

       FURTHER RESOLVED, that in the business judgment of the Authorizing Bodies, it is
desirable and in the best interests of each Company, its creditors, and other stakeholders that the
Authorized Persons file or cause to be filed the Plans, the Disclosure Statements, and all other
papers or documents (including any amendments) related thereto, and to take any and all actions
that the Authorizing Bodies deem necessary or appropriate to pursue confirmation and
consummation of a plan of reorganization materially consistent with the Plans;

        FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, together with the financial and legal advisors of the Companies, to file
all other documents as each, in his or her discretion, may deem necessary or advisable to confirm
plans of reorganization materially consistent with the Plans, including, but not limited to, any
amendments to, and modifications of, the Plans and the Disclosure Statements;

        FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed to take or cause to be taken any and all such other and further action, and
to execute, acknowledge, deliver, and file any and all such instruments as each, in his or her
discretion, may deem necessary or advisable in order to consummate the Plans if confirmed by the
Bankruptcy Court; and

       FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed to execute and file on behalf of each Company all other petitions,
schedules, lists, and other motions, papers, or documents, and to take any and all action that they
deem necessary or proper to obtain such relief, including, without limitation, any action necessary
to maintain the ordinary course operation of the Companies’ businesses.

                                    Retention of Professionals

       RESOLVED, each of the Authorized Persons, be, and hereby are, authorized, empowered,
and directed to retain on behalf of each Company: (i) the law firm of Kirkland & Ellis LLP and
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Kirkland & Ellis International LLP as bankruptcy counsel; (ii) the law firm of Jackson Walker
LLP as local bankruptcy counsel; (iii) PJT Partners as investment banker; (iv) Alvarez & Marsal
North America, LLC as restructuring advisor; (v) Kroll Restructuring Administration LLC as
claims and noticing agent; (vi) KPMG LLC as tax advisor; (vii) Katten Muchin Rosenman, LLP,
as legal counsel; and (viii) any other legal counsel, accountants, financial advisors, restructuring
advisors or other professionals the Authorized Persons deem necessary, appropriate or advisable;
each to represent and assist the Companies in carrying out its duties and responsibilities and
exercising its rights under the Bankruptcy Code and any applicable law (including, but not limited
to, the law firms filing any pleadings or responses); and in connection therewith, the Authorized
Persons, be, and hereby are authorized, empowered and directed, in accordance with the terms and
conditions hereof, to execute appropriate retention agreements, pay appropriate retainers, and to
cause to be filed appropriate applications for authority to retain such services; and

       FURTHER RESOLVED, each of the Authorized Persons, be, and hereby are, authorized,
empowered and directed to execute and file all petitions, schedules, motions, lists, applications,
pleadings, and other papers, and to perform such further actions and execute such further
documentation that the Authorized Persons in their absolute discretion deem necessary,
appropriate or desirable in accordance with these resolutions.

                        Use of Cash Collateral and Adequate Protection

        RESOLVED, that each Company will obtain benefits from the use of collateral, including
cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash
Collateral”), which is security for certain of the Companies’ prepetition secured lenders under
certain credit facilities by and among certain of the Companies, and the guarantors party thereto,
the lenders party thereto (the “Prepetition Secured Lenders”);

        FURTHER RESOLVED, each of the Authorized Persons be, and hereby are, authorized,
directed and empowered in the name of, and on behalf of, each Company to seek approval of the
use of cash collateral pursuant to a cash collateral order in interim and final form (a “Cash
Collateral Order”), and, to the extent applicable to the Company, any Authorized Person be, and
hereby is, authorized, empowered, and directed to negotiate, execute, and deliver any and all
agreements, instruments, or documents, by or on behalf of the Company, necessary or advisable
to implement the Cash Collateral Order, including providing for adequate protection to the
Prepetition Secured Lenders in accordance with section 363 of the Bankruptcy Code (the
“Adequate Protection Obligations”), as well as any additional or further agreements for the use
of cash collateral in connection with the chapter 11 cases, which agreement(s) may require the
Companies to grant adequate protection and security interests to the Prepetition Secured Lenders
and each other agreement, instrument, or document to be executed and delivered in connection
therewith, by or on behalf of the Companies pursuant thereto or in connection therewith, all with
such changes therein and additions thereto as any Authorized Person, such approval to be
conclusively evidenced by the taking of such action or by the execution and delivery thereof;

       FURTHER RESOLVED, that each Company, as debtors and debtors in possession under
the Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations.
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                                    Further and Prior Actions

        RESOLVED, the Companies are hereby authorized to authorize (and each Company
hereby authorizes) any direct or indirect subsidiary of each Company or any entity of which such
Company or any subsidiary of such Company is the sole member, general partner, managing
member, or equivalent manager, as applicable, to take each of the actions described in these
resolutions or any of the actions authorized in these resolutions, and none of the resolutions
contained herein, or action taken in furtherance hereto, shall have or cause an adverse effect on
any such subsidiary or such Company’s interest therein (including without limitation, any
automatic dissolution, divestiture, dissociation, or like event under applicable law).

        FURTHER RESOLVED, in addition to the specific authorizations heretofore conferred
upon such Authorized Persons, the Authorized Persons, either individually or as otherwise
required by each Company’s governing documents and applicable law, be, and each of them
hereby is, authorized to execute, acknowledge, deliver, and file any and all agreements,
certificates, instruments, powers of attorney, letters, forms, transfer, deeds and other documents
on behalf of each Company relating to the Restructuring Matters.

        FURTHER RESOLVED, each of the Authorized Persons (and their designees and
delegates) be, and hereby is, authorized and empowered, in the name of and on behalf of each
Company, to take or cause to be taken any all such other and further action, and to execute,
acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
documents and to pay all expenses, including but not limited to filing fees, in each case as in such
Authorized Person’s or Authorized Persons’ absolute discretion, shall be necessary, appropriate,
or desirable in order to fully carry out the intent and accomplish the purposes of the resolution
adopted herein.

        FURTHER RESOLVED, the Authorizing Bodies have received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing resolutions, as may
be required by the governing documents of each Company, or hereby waives any right to have
received such notice.

         FURTHER RESOLVED, all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of each Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved, confirmed and
ratified as the true acts and deeds of each Company with the same force and effect as if each such
act, transaction, agreement, or certificate had been specifically authorized in advance by resolution
of the Authorizing Bodies.

        FURTHER RESOLVED, any Authorized Person be, and each of them hereby is,
authorized to do all such other acts, deeds and other things as each Company itself may lawfully
do, in accordance with its governing documents and applicable law, howsoever arising in
connection with the matters above, or in furtherance of the intentions expressed in the foregoing
resolutions, including, but not limited to, the negotiation, finalization, execution and delivery of
any other agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds
and other documents whatsoever as the individual acting may in his/her absolute and unfettered
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discretion approve, deem or determine necessary, appropriate or advisable, such approval,
deeming or determination to be conclusively evidenced by said individual taking such action or
the execution thereof.
                                           *****
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            IN WITNESS WHEREOF, the undersigned have executed this written consent as of the date
            first set forth above. This unanimous written consent may be signed by facsimile or other
            electronic means, with any such signature being of the same force and effect as an original
            signature, and in multiple counterparts, all of which will constitute one document.




                                                             Board of Directors of the TopCo listed on
                                                             Schedule 1


                                                             _________________________________
                                                             Max Lin


                                                             __________________________________
                                                             Vishal Patel


                                                             __________________________________
                                                             Lauren Krueger


                                                             __________________________________
                                                             James Rechtin


                                                             __________________________________
                                                             Paul Keglevic


                                                             __________________________________
                                                             Jill Frizzley


                                                             __________________________________
                                                             Gary Begeman




                                          [Signature Page to Omnibus Written Consent]
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                     Case 23-90405 Document 1 Filed in TXSB on 05/15/23 Page 20 of 38




            IN WITNESS WHEREOF, the undersigned have executed this written consent as of the date
            first set forth above. This unanimous written consent may be signed by facsimile or other
            electronic means, with any such signature being of the same force and effect as an original
            signature, and in multiple counterparts, all of which will constitute one document.




                                                             Board of Directors of the Subsidiary listed on
                                                             Schedule 2


                                                             __________________________________
                                                             Max Lin


                                                             __________________________________
                                                             Vishal Patel




                                          [Signature Page to Omnibus Written Consent]
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            IN WITNESS WHEREOF, the undersigned have executed this written consent as of the date
            first set forth above. This unanimous written consent may be signed by facsimile or other
            electronic means, with any such signature being of the same force and effect as an original
            signature, and in multiple counterparts, all of which will constitute one document.



                                                             Board of Directors of the Subsidiary listed on
                                                             Schedule 3

                                                             -and-

                                                             ENVISION HEALTHCARE CORPORATION, being
                                                             the Sole Member of each Subsidiary listed on
                                                             Schedule 4


                                                             __________________________________
                                                             Max Lin


                                                             __________________________________
                                                             Vishal Patel


                                                             __________________________________
                                                             James Rechtin


                                                             __________________________________
                                                             Paul Keglevic


                                                             __________________________________
                                                             Jill Frizzley


                                                             __________________________________
                                                             Lauren Krueger


                                                             __________________________________
                                                             Gary Begeman




                                          [Signature Page to Omnibus Written Consent]
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            IN WITNESS WHEREOF, the undersigned have executed this written consent as of the date
            first set forth above. This unanimous written consent may be signed by facsimile or other
            electronic means, with any such signature being of the same force and effect as an original
            signature, and in multiple counterparts, all of which will constitute one document.



                                                             Board of Directors of the Subsidiaries listed on
                                                             Schedule 7



                                                             __________________________________
                                                             Jeff Snodgrass


                                                             __________________________________
                                                             Pamela Corrie


                                                             __________________________________
                                                             Harvey Tepner




                                            [Signature Page to Omnibus Written Consent]
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            IN WITNESS WHEREOF, the undersigned have executed this written consent as of the date
            first set forth above. This unanimous written consent may be signed by facsimile or other
            electronic means, with any such signature being of the same force and effect as an original
            signature, and in multiple counterparts, all of which will constitute one document.

                                                             EMERGENCY MEDICAL SERVICES LLC
                                                             being the Sole Member of the Subsidiary listed on
                                                             Schedule 6

                                                             IMAGING ADVANTAGE LLC, being the Sole Member
                                                             of each Subsidiary listed on Schedule 8

                                                             SHERIDAN HEALTHCORP, INC., being the Sole
                                                             Member of each Subsidiary listed on Schedule 9

                                                             EMCARE, LLC being the Sole Member of each
                                                             Subsidiary listed on Schedule 10

                                                             HAWKEYE HOLDCO, INC. being the Sole Member of
                                                             the Subsidiary listed on Schedule 11

                                                             ALPHA PHYSICIAN RESOURCES, being the Sole
                                                             Member of each Subsidiary listed on Schedule 12

                                                             CMORx, II, Inc., being the Sole            Member of
                                                             the Subsidiary listed on Schedule 13

                                                             SUNBEAM ASSET L.L.C., being the Sole Member of
                                                             the Subsidiary listed on Schedule 14

                                                             APEX ACQUISTION LLC, being the Sole Member of
                                                             each Subsidiary listed on Schedule 15

                                                             SPOTLIGHT HOLDCO LLC being the Sole Member of
                                                             each Subsidiary listed on Schedule 16

                                                             -and-

                                                             Sole Member / Director of the Subsidiaries listed on
                                                             Schedule 17


                                                             By: __________________________________
                                                             Name: Chan-Chou Chuang, M.D.
                                                             Title: Director / Manager / President




                                           [Signature Page to Omnibus Written Consent]
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            IN WITNESS WHEREOF, the undersigned have executed this written consent as of the date
            first set forth above. This unanimous written consent may be signed by facsimile or other
            electronic means, with any such signature being of the same force and effect as an original
            signature, and in multiple counterparts, all of which will constitute one document.


                                                             AMSURG PHYSICIANS ARIZONA, LLC
                                                             being the Sole Member of the Subsidiary listed on
                                                             Schedule 5

                                                             AMSURG HOLDINGS, LLC, being the Sole Member of
                                                             the Subsidiary listed on Schedule 18

                                                             AMSURG PHYSICIANS HOLDCO, LLC being the Sole
                                                             Member of the Subsidiary listed on Schedule 19

                                                             AUSTIN NSC, LLC being the General Partner of the
                                                             Subsidiary listed on Schedule 20

                                                             -and-

                                                             Sole Member / Director of the Subsidiaries listed on
                                                             Schedule 21


                                                             By: __________________________________
                                                             Name: Jeff Snodgrass
                                                             Title: Member / Director / President / Executive Vice
                                                             President




                                            [Signature Page to Omnibus Written Consent]
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                                          Schedule 1
   Board of Directors: Max Lin, Vishal Patel, Lauren Krueger, James Rechtin, Paul
                      Keglevic, Jill Frizzley, and Gary Begeman
                   TopCo                                          Jurisdiction
Enterprise Parent Holdings, Inc.                                   Delaware


                                          Schedule 2
                        Board of Directors: Max Lin, Vishal Patel
                 Subsidiary                                       Jurisdiction
Enterprise Intermediate Holdings, Inc.                             Delaware


                                          Schedule 3
 Board of Directors: Max Lin, Vishal Patel, James Rechtin, Paul Keglevic, Jill Frizzley,
                        Lauren Krueger, and Gary Begeman
                Subsidiary                                        Jurisdiction
Envision Healthcare Corporation                                    Delaware


                                          Schedule 4
                     Sole Member: Envision Healthcare Corporation
                 Subsidiary                                       Jurisdiction
Envision Physician Services, LLC                                   Delaware
EMSC ServicesCo LLC                                                Delaware


                                          Schedule 5
                     Sole Member: AmSurg Physicians Arizona, LLC
                Subsidiary                                        Jurisdiction
Millennium Vision Surgical, LLC                                    Delaware


                                          Schedule 6
                     Sole Member: Emergency Medical Services LLC
                Subsidiary                                        Jurisdiction
Evolution Mobile Imaging, LLC                                      Delaware



                             [Exhibit A to Omnibus Written Consent]
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                                        Schedule 7
        Board of Managers: Jeff Snodgrass, Pamela Corrie, and Harvey Tepner
                Subsidiary                                      Jurisdiction
AmSurg, LLC                                                      Delaware
AmSurg Holdco, LLC                                               Delaware


                                        Schedule 8
                        Sole Member: Imaging Advantage LLC
                 Subsidiary                                     Jurisdiction
iSelect Healthcare LLC                                           Delaware


                                        Schedule 9
                        Sole Member: Sheridan Healthcorp, Inc.
                 Subsidiary                                     Jurisdiction
NAC Properties, LLC                                               Georgia
Sentinel Healthcare Services, LLC                                 Georgia
Bay Area Anesthesia, L.L.C.                                       Florida
Broad Midwest Anesthesia, LLC                                    Missouri
Jupiter Healthcare, LLC                                           Florida
Sheridan InvestCo, LLC                                           Delaware
St. Lucie Anesthesia Associates, LLC                              Florida


                                       Schedule 10
                              Sole Member: Emcare, LLC
                Subsidiary                                      Jurisdiction
Apex Acquisition LLC                                             Delaware
Alpha Physician Resources, L.L.C.                               New Jersey
Hawkeye Holdco LLC                                               Delaware
Phoenix Business Systems, LLC                                    Missouri
Practice Account Management Services, LLC                        Missouri
Spotlight Holdco LLC                                             Delaware
QRx Medical Management, LLC                                      Delaware
Streamlined Medical Solutions LLC                                  Texas
Sun Devil Acquisition LLC                                        Delaware
Sunbeam Asset LLC                                                Delaware



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                                        Schedule 11
                           Sole Member: Hawkeye Holdco, Inc.
              Subsidiary                                         Jurisdiction
Acute Management, LLC                                               Texas


                                        Schedule 12
                    Sole Member: Alpha Physician Resources, L.L.C.
                Subsidiary                                       Jurisdiction
Bravo Reimbursement Specialist, L.L.C.                           New Jersey
ED Solutions, LLC                                                New Jersey
EDIMS, L.L.C.                                                    New Jersey
Proven Healthcare Solutions of New Jersey,                       New Jersey
LLC


                                        Schedule 13
                              Sole Member: CMORx II, Inc.
                 Subsidiary                                      Jurisdiction
CMORx, LLC                                                          Texas


                                        Schedule 14
                           Sole Member: Sunbeam Asset L.L.C.
                 Subsidiary                                      Jurisdiction
Jupiter Anesthesia Associates, L.L.C.                              Florida


                                        Schedule 15
                          Sole Member: Apex Acquisition LLC
             Subsidiary                                          Jurisdiction
MSO Newco, LLC                                                    Delaware


                                        Schedule 16
                           Sole Member: Spotlight Holdco LLC
                Subsidiary                                       Jurisdiction
Rose Radiology, LLC                                                 Texas

                            [Schedules to Omnibus Written Consent]
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                                       Schedule 17
                  Sole Manager / Director: Chan-Chou Chuang, M.D.
                   Subsidiary                                   Jurisdiction
Affilion, Inc.                                                   Delaware
All Women's Healthcare Holdings, Inc.                            Delaware
All Women's Healthcare of Dade, Inc.                              Florida
All Women's Healthcare of Sawgrass, Inc.                          Florida
All Women's Healthcare of West Broward,                           Florida
Inc.
All Women's Healthcare Services, Inc.                                Florida
All Women's Healthcare, Inc.                                         Florida
AllegiantMD, Inc.                                                    Florida
American Emergency Physicians                                       California
Management, Inc.
Anesthesiologists of Greater Orlando, Inc.                           Florida
Anesthesiology Associates of Tallahassee,                            Florida
Inc.
APH Laboratory Services, Inc.                                        Texas
Arizona Perinatal Care Centers, LLC                                 Florida
BestPractices, Inc.                                                 Virginia
Bethesda Anesthesia Associates, Inc.                                Florida
Boca Anesthesia Service, Inc.                                       Florida
Centennial Emergency Physicians, LLC                                Missouri
Chandler Emergency Medical Group, L.L.C.                            Arizona
Children's Anesthesia Associates, Inc.                              Florida
Clinical Partners Management Company,                                Texas
LLC
Coastal Anesthesiology Consultants, LLC                              Florida
Desert Mountain Consultants in Anesthesia,                           Arizona
Inc.
Discovery Clinical Research, Inc.                                    Florida
Doctors Billing Service, Inc.                                       California
Drs. Ellis, Rojas, Ross & Debs, Inc.                                 Florida
EmCare, LLC                                                         Delaware
EmCare Anesthesia Providers, Inc.                                   Delaware
EmCare HoldCo, LLC                                                  Delaware
EmCare Holdings, LLC                                                Delaware
EmCare of California, Inc.                                          California
EmCare Physician Providers, Inc.                                    Missouri


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EmCare Physician Services, Inc.                                      Delaware
EHR Management Co.                                                   Delaware
Emergency Medicine Education Systems, Inc.                            Texas
(EMEDS)
Emergency Medical Services LLC                                       Delaware
EMS Management LLC                                                   Delaware
Envision Anesthesia Services of Delaware,                             Florida
Inc.
Envision Anesthesia Services of Sierra Vista,                         Florida
Inc.
Envision Children's Healthcare Services of                            Florida
North Mississippi, Inc.
Envision Healthcare Clinical Research, Inc.                           Florida
Envision Healthcare Scientific Intelligence,                          Florida
Inc.
Flamingo Anesthesia Associates, Inc.                                  Florida
FM Healthcare Services, Inc.                                          Florida
FMO Healthcare Holdings, LLC                                         Delaware
FO Investments II, Inc.                                               Florida
FO Investments III, Inc.                                              Florida
FO Investments, Inc.                                                  Florida
Global Surgical Partners, Inc.                                        Florida
Greater Florida Anesthesiologists, LLC                                Florida
Gynecologic Oncology Associates, Inc.                                 Florida
Healthcare Administrative Services, Inc.                             Delaware
Holiday Acquisition Company, Inc.                                    Colorado
Imaging Advantage LLC                                                Delaware
Infinity Healthcare, Inc.                                             Illinois
Jacksonville Beaches Anesthesia Associates,                           Florida
Inc.
KMAC, Inc.                                                            Texas
MedAssociates, LLC                                                    Texas
Medi-Bill of North Florida, Inc.                                      Florida
New Generations Babee Bag, Inc.                                       Florida
North Florida Anesthesia Consultants, Inc.                            Florida
North Florida Perinatal Associates, Inc.                              Florida
Northwood Anesthesia Associates, L.L.C                                Florida
Parity Healthcare, Inc.                                               Florida
Partners in Medical Billing, Inc.                                     Florida
Phoenix Physicians, LLC                                               Florida
Physician Account Management, Inc.                                    Florida
Physician Office Partners, Inc.                                       Kansas

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Pinnacle Consultants Mid-Atlantic, L.L.C.                        Delaware
Provider Account Management, Inc.                                Delaware
Reimbursement Technologies, Inc.                                Pennsylvania
Radstaffing Management Solutions, Inc.                           Delaware
Radiology Staffing Solutions, Inc.                               Delaware
Rose Radiology, LLC                                                Texas
Sheridan Anesthesia Services of Alabama,                          Florida
Inc.
Sheridan Anesthesia Services of Louisiana,                           Florida
Inc.
Sheridan Anesthesia Services of Virginia, Inc.                       Florida
Sheridan CADR Solutions, Inc.                                        Florida
Sheridan Children's Healthcare Services of                           Florida
Arizona, Inc.
Sheridan Children's Healthcare Services of                           Florida
Kentucky, Inc.
Sheridan Children's Healthcare Services of                           Florida
Louisiana, Inc.
Sheridan Children's Healthcare Services of                           Florida
New Mexico, Inc.
Sheridan Children's Healthcare Services of                           Florida
Ohio, Inc.
Sheridan Children's Healthcare Services of                           Florida
Virginia, Inc.
Sheridan Children's Healthcare Services, Inc.                        Florida
Sheridan Children's Services of Alabama, Inc.                        Florida
Sheridan Emergency Physician Services of                             Florida
Missouri, Inc.
Sheridan Emergency Physician Services of                             Florida
North Missouri, Inc.
Sheridan Emergency Physician Services of                             Florida
South Florida, Inc.
Sheridan Emergency Physician Services, Inc.                       Florida
Sheridan Healthcare of Louisiana, Inc.                            Florida
Sheridan Healthcare of Missouri, Inc.                             Florida
Sheridan Healthcare of Vermont, Inc.                              Florida
Sheridan Healthcare of Virginia, Inc.                             Florida
Sheridan Healthcare of West Virginia, Inc.                      West Virginia
Sheridan Healthcare, LLC                                         Delaware
Sheridan Healthcorp of California, Inc.                          California
Sheridan Healthcorp, Inc.                                         Florida
Sheridan Healthy Hearing Services, Inc.                           Florida

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Sheridan Holdings, Inc.                                               Delaware
Sheridan Hospitalist Services of Florida, Inc.                         Florida
Sheridan Leadership Academy, Inc.                                      Florida
Sheridan Radiology Management Services,                               Delaware
Inc.
Sheridan Radiology Services, Inc.                                     Delaware
Sheridan ROP Services of Alabama, Inc.                                 Florida
Sheridan ROP Services of Florida, Inc.                                 Florida
Sheridan ROP Services of Virginia, Inc.                                Florida
Southeast Perinatal Associates, Inc.                                   Florida
Templeton Readings, LLC                                               Maryland
Tennessee Valley Neonatology, Inc.                                     Florida
Tiva Healthcare, Inc.                                                  Florida
Valley Anesthesiology Consultants, Inc.                               Arizona
Valley Clinical Research, Inc.                                         Florida
West Fairview Emergency Physicians, LLC                               Kentucky


                                          Schedule 18
                           Sole Member: AmSurg Holdings, LLC
               Subsidiary                                         Jurisdiction
AmSurg Physicians HoldCo, LLC                                      Delaware


                                          Schedule 19
                     Sole Member: AmSurg Physicians HoldCo, LLC
               Subsidiary                                         Jurisdiction
AmSurg Physicians Arizona, LLC                                     Delaware


                                          Schedule 20
                            General Partner: Austin NSC, LLC
                 Subsidiary                                       Jurisdiction
Austin NSC, LP                                                       Texas


                                          Schedule 21
                          Sole Manager / Director: Jeff Snodgrass
               Subsidiary                                         Jurisdiction
AmSurg Abilene Eye, Inc.                                           Tennessee

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AmSurg Abilene, Inc.                                              Tennessee
AmSurg Altamonte Springs FL, Inc.                                 Tennessee
AmSurg Anesthesia Management Services,                            Tennessee
LLC
AmSurg Arcadia CA, Inc.                                           Tennessee
AmSurg Burbank, Inc.                                              Tennessee
AmSurg Colton CA, Inc.                                            Tennessee
AmSurg Crystal River, Inc.                                        Tennessee
AmSurg EC Beaumont, Inc.                                          Tennessee
AmSurg EC Centennial, Inc.                                        Tennessee
AmSurg EC Santa Fe, Inc.                                          Tennessee
AmSurg EC St. Thomas, Inc.                                        Tennessee
AmSurg EC Topeka, Inc.                                            Tennessee
AmSurg EC Washington, Inc.                                        Tennessee
AmSurg El Paso, Inc.                                              Tennessee
AmSurg Escondido CA, Inc.                                         Tennessee
AmSurg Finance, Inc.                                              Tennessee
AmSurg Fresno Endoscopy, Inc.                                     Tennessee
AmSurg Glendale, Inc.                                             Tennessee
AmSurg Glendora CA, Inc.                                          Tennessee
AmSurg Hillmont, Inc.                                             Tennessee
AmSurg Holdings, LLC                                              Delaware
AmSurg Inglewood, Inc.                                            Tennessee
AmSurg KEC, Inc.                                                  Tennessee
AmSurg Kissimmee FL, Inc.                                         Tennessee
AmSurg La Jolla, Inc.                                             Tennessee
AmSurg Lancaster PA, LLC                                          Tennessee
AmSurg Main Line PA, LLC                                          Tennessee
AmSurg Maryville, Inc.                                            Tennessee
AmSurg Melbourne, Inc.                                            Tennessee
AmSurg Miami, Inc.                                                Tennessee
AmSurg Naples, Inc.                                               Tennessee
AmSurg New Port Richey FL, Inc.                                   Tennessee
AmSurg Northwest Florida, Inc.                                    Tennessee
AmSurg Oakland CA, Inc.                                           Tennessee
AmSurg Ocala, Inc.                                                Tennessee
AmSurg Palmetto, Inc.                                             Tennessee
AmSurg Pottsville PA, LLC                                         Tennessee
AmSurg San Antonio TX, Inc.                                       Tennessee
AmSurg San Luis Obispo CA, Inc.                                   Tennessee
AmSurg Scranton PA, Inc.                                          Tennessee
AmSurg Suncoast, Inc.                                             Tennessee

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AmSurg Temecula CA, Inc.                                            Tennessee
AmSurg Temecula II, Inc.                                            Tennessee
AmSurg Torrance, Inc.                                               Tennessee
ASDH I, LLC                                                         Tennessee
ASDH II, LLC                                                        Tennessee
Austin NSC, LLC                                                     Tennessee
Coral Springs NSC, LLC                                              Tennessee
Davis NSC, LLC                                                      Tennessee
Fullerton NSC, LLC                                                  Tennessee
Kenwood NSC, LLC                                                    Tennessee
Long Beach NSC, LLC                                                 Tennessee
Illinois NSC, Inc.                                                  Tennessee
NSC Healthcare, Inc.                                                Tennessee
NSC RBO East, LLC                                                   Tennessee
NSC West Palm, LLC                                                  Tennessee
San Antonio NSC, LLC                                                Tennessee
SHI II, LLC                                                         Tennessee
Tampa Bay NSC, LLC                                                  Tennessee
Torrance NSC, LLC                                                   Tennessee
Towson NSC, LLC                                                     Tennessee
Twin Falls NSC, LLC                                                 Tennessee
Weston NSC, LLC                                                     Tennessee
Wilton NSC, LLC                                                     Tennessee




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                                      EXHIBIT A

Acute Management, LLC
Affilion, Inc.
All Women's Healthcare Holdings, Inc.
All Women's Healthcare of Dade, Inc.
All Women's Healthcare of Sawgrass, Inc.
All Women's Healthcare of West Broward, Inc.
All Women's Healthcare Services, Inc.
All Women's Healthcare, Inc.
AllegiantMD, Inc.
Alpha Physician Resources, L.L.C.
American Emergency Physicians Management, Inc.
AmSurg Abilene Eye, Inc.
AmSurg Abilene, Inc.
AmSurg Altamonte Springs FL, Inc.
AmSurg Anesthesia Management Services, LLC
AmSurg Arcadia CA, Inc.
AmSurg Burbank, Inc.
AmSurg Colton CA, Inc.
AmSurg Crystal River, Inc.
AmSurg EC Beaumont, Inc.
AmSurg EC Centennial, Inc.
AmSurg EC Santa Fe, Inc.
AmSurg EC St. Thomas, Inc.
AmSurg EC Topeka, Inc.
AmSurg EC Washington, Inc.
AmSurg El Paso, Inc.
AmSurg Escondido CA, Inc.
AmSurg Finance, Inc.
AmSurg Fresno Endoscopy, Inc.
AmSurg Glendale, Inc.
AmSurg Glendora CA, Inc.
AmSurg Hillmont, Inc.
AmSurg Holdco, LLC
AmSurg Holdings, LLC
AmSurg Inglewood, Inc.
AmSurg KEC, Inc.
AmSurg Kissimmee FL, Inc.
AmSurg La Jolla, Inc.
AmSurg Lancaster PA, LLC
AmSurg Main Line PA, LLC
AmSurg Maryville, Inc.
AmSurg Melbourne, Inc.
AmSurg Miami, Inc.
AmSurg Naples, Inc.



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AmSurg New Port Richey FL, Inc.
AmSurg Northwest Florida, Inc.
AmSurg Oakland CA, Inc.
AmSurg Ocala, Inc.
AmSurg Palmetto, Inc.
AmSurg Physicians Arizona, LLC
AmSurg Physicians HoldCo, LLC
AmSurg Pottsville PA, LLC
AmSurg San Antonio TX, Inc.
AmSurg San Luis Obispo CA, Inc.
AmSurg Scranton PA, Inc.
AmSurg Suncoast, Inc.
AmSurg Temecula CA, Inc.
AmSurg Temecula II, Inc.
AmSurg Torrance, Inc.
AmSurg, LLC
Anesthesiologists of Greater Orlando, Inc.
Anesthesiology Associates of Tallahassee, Inc.
Apex Acquisition LLC
Arizona Perinatal Care Centers, LLC
ASDH I, LLC
ASDH II, LLC
Austin NSC, LLC
Austin NSC, LP
Bay Area Anesthesia, L.L.C.
BestPractices, Inc.
Bethesda Anesthesia Associates, Inc.
Boca Anesthesia Service, Inc.
Bravo Reimbursement Specialist, L.L.C.
Broad Midwest Anesthesia, LLC
Centennial Emergency Physicians, LLC
Chandler Emergency Medical Group, L.L.C.
Children's Anesthesia Associates, Inc.
Clinical Partners Management Company, LLC
CMORx, LLC
Coastal Anesthesiology Consultants, LLC
Coral Springs NSC, LLC
Davis NSC, LLC
Desert Mountain Consultants in Anesthesia, Inc.
Discovery Clinical Research, Inc.
Doctors Billing Service, Inc.
Drs. Ellis, Rojas, Ross & Debs, Inc.
ED Solutions, LLC
EDIMS, L.L.C.
EHR Management Co.
EmCare Anesthesia Providers, Inc.


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EmCare HoldCo, LLC
EmCare Holdings, LLC
EmCare of California, Inc.
EmCare Physician Providers, Inc.
EmCare Physician Services, Inc.
EmCare, LLC
Emergency Medical Services LLC
Emergency Medicine Education Systems, Inc. (EMEDS)
EMS Management LLC
EMSC ServicesCo, LLC
Enterprise Intermediate Holdings Inc.
Enterprise Parent Holdings, Inc.
Envision Anesthesia Services of Delaware, Inc.
Envision Anesthesia Services of Sierra Vista, Inc.
Envision Children's Healthcare Services of North Mississippi, Inc.
Envision Healthcare Clinical Research, Inc.
Envision Healthcare Corporation
Envision Healthcare Scientific Intelligence, Inc.
Envision Physician Services, LLC
Flamingo Anesthesia Associates, Inc.
FM Healthcare Services, Inc.
FMO Healthcare Holdings, LLC
FO Investments II, Inc.
FO Investments III, Inc.
FO Investments, Inc.
Fullerton NSC, LLC
Global Surgical Partners, Inc.
Greater Florida Anesthesiologists, LLC
Hawkeye Holdco LLC
Healthcare Administrative Services, Inc.
Holiday Acquisition Company, Inc.
Illinois NSC, Inc.
Imaging Advantage LLC
Infinity Healthcare, Inc.
iSelect Healthcare LLC
Jacksonville Beaches Anesthesia Associates, Inc.
Jupiter Anesthesia Associates, L.L.C.
Jupiter Healthcare, LLC
Kenwood NSC, LLC
Long Beach NSC, LLC
MedAssociates, LLC
Medi-Bill of North Florida, Inc.
Medical Information Management Solutions, LLC
Millennium Vision Surgical, LLC
MSO Newco, LLC
NAC Properties, LLC


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New Generations Babee Bag, Inc.
North Florida Anesthesia Consultants, Inc.
North Florida Perinatal Associates, Inc.
Northwood Anesthesia Associates, L.L.C
NSC Healthcare, Inc.
NSC RBO East, LLC
NSC West Palm, LLC
Parity Healthcare, Inc.
Partners in Medical Billing, Inc.
Phoenix Business Systems, LLC
Phoenix Physicians, LLC
Physician Account Management, Inc.
Physician Office Partners, Inc.
Pinnacle Consultants Mid-Atlantic, L.L.C.
Practice Account Management Services, LLC
Proven Healthcare Solutions of New Jersey, LLC
Provider Account Management, Inc.
QRx Medical Management, LLC
Reimbursement Technologies, Inc.
San Antonio NSC, LLC
Sentinel Healthcare Services, LLC
Sheridan Anesthesia Services of Alabama, Inc.
Sheridan Anesthesia Services of Louisiana, Inc.
Sheridan Anesthesia Services of Virginia, Inc.
APH Laboratory Services, Inc.
Sheridan CADR Solutions, Inc.
Sheridan Children's Healthcare Services of Arizona, Inc.
Sheridan Children's Healthcare Services of Kentucky, Inc.
Sheridan Children's Healthcare Services of Louisiana, Inc.
Sheridan Children's Healthcare Services of New Mexico, Inc.
Sheridan Children's Healthcare Services of Ohio, Inc.
Sheridan Children's Healthcare Services of Virginia, Inc.
Sheridan Children's Healthcare Services, Inc.
Sheridan Children's Services of Alabama, Inc.
Sheridan Emergency Physician Services of Missouri, Inc.
Sheridan Emergency Physician Services of North Missouri, Inc.
Sheridan Emergency Physician Services of South Florida, Inc.
Sheridan Emergency Physician Services, Inc.
Sheridan Healthcare of Louisiana, Inc.
Sheridan Healthcare of Missouri, Inc.
Sheridan Healthcare of Vermont, Inc.
Sheridan Healthcare of Virginia, Inc.
Sheridan Healthcare of West Virginia, Inc.
Sheridan Healthcare, LLC
Sheridan Healthcorp of California, Inc.
Sheridan Healthcorp, Inc.


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Sheridan Healthy Hearing Services, Inc.
Sheridan Holdings, LLC
Sheridan Hospitalist Services of Florida, Inc.
Sheridan InvestCo, LLC
Sheridan Leadership Academy, Inc.
Sheridan Radiology Management Services, Inc.
Sheridan Radiology Services, Inc.
Sheridan ROP Services of Alabama, Inc.
Sheridan ROP Services of Florida, Inc.
Sheridan ROP Services of Virginia, Inc.
SHI II, LLC
Southeast Perinatal Associates, Inc.
Spotlight Holdco LLC
St. Lucie Anesthesia Associates, LLC
Streamlined Medical Solutions LLC
Sun Devil Acquisition LLC
Sunbeam Asset LLC
Tampa Bay NSC, LLC
Templeton Readings, LLC
Tennessee Valley Neonatology, Inc.
Tiva Healthcare, Inc.
Torrance NSC, LLC
Towson NSC, LLC
Twin Falls NSC, LLC
Valley Anesthesiology Consultants, Inc.
Valley Clinical Research, Inc.
West Fairview Emergency Physicians, LLC
Weston NSC, LLC
Wilton NSC, LLC
Evolution Mobile Imaging, LLC
Gynecologic Oncology Associates, Inc.
KMAC, Inc.
Radiology Staffing Solutions, Inc.
Radstaffing Management Solutions, Inc.
Rose Radiology, LLC




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